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                                        I]NITED STATES COURT OF APPEALS
                                             FOR TIIE EIGHTH CIRCTIIT
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     DATE:                   September 05,2013

     RE:                      I2-280I United   States v. Lindon Roy Knutson

     TO:                     Richard Sletten

     FROM:                   James J. Foster



     Enclosed are the following records for return to your office:

                  Original     file:                       Transcript: 2 vols.

                  Deposition:                              Sealed:

                  Exhibits:

                  Other:



                  [x]     Case closed                      [   ]   Counsel appointed

                  [   ]   Per your request                 [   ]   Return to this office

              i

;:   Enclosure(s)

t                         District Court/Agency Case Number(s): 0:10-cr-00225-DWF-1

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